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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )             8:06CR184
                       Plaintiff,                     )
                                                      )
         vs.                                          )               ORDER
                                                      )
CESSAR JIMINEZ-AGUILA,                                )
GREGG STEVENSON and                                   )
STEVE EUGENE ENCINAS,                                 )
                                                      )
                       Defendants.                    )
         This matter is before the court on the motion for an extension of time by defendant Steve
Eugene Encinas (Encinas) (Filing No. 20). Encinas seeks an additional fourteen days in which to
file pretrial motions in accordance with the progression order (Filing No. 8). Encinas has filed an
affidavit wherein he consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 21).               Upon
consideration, the motion will be granted. Further, the deadline for filing pretrial motions will
be extended for all defendants.
         IT IS ORDERED:
         1.     Defendant Encinas' motion for an extension of time (Filing No. 20) is granted. All
defendants are given until on or before August 11, 2006, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between July 17, 2006 and August 11, 2006,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendants' counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         2.     The evidentiary hearing tentatively scheduled for 9:15 a.m. on July 27, 2006, is
canceled and will be rescheduled, if necessary, following the filing of any pretrial motions in
accordance with this order.
         DATED this 17th day of July, 2006.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
